Case 1:21-cr-00371-BMC-TAM Document 48-1 Filed 10/15/21 Page 1 of 1 PageID #: 286




                                           Attachment A

     1. As needed, with prior approval from Pretrial, the defendant shall be permitted to
        temporarily reside at a fixed location, to be approved by Pretrial Services, in the Central
        District of California for the purpose of visiting with his children and attending meetings
        with his lawyers and otherwise preparing for trial in this matter.

     2. As needed, with prior approval from Pretrial, the defendant shall be permitted to travel to
        New York and to temporarily reside at a fixed location, to be approved by Pretrial
        Services, for the purpose of attending meetings with his lawyers and otherwise preparing
        for trial in this matter, and to attend business meetings.

     3. Defendant shall not engage in any domestic financial transactions in excess of $2 million
        (excepting normal and customary payment of attorneys’ fees, and including but not
        limited to any transactions involving publicly held securities of any description) without
        the prior written consent of the government.

            a. For transactions between $1 million and $2 million, the defendant shall give
               notice of the transaction to the government within 48 hours, including information
               related to the transaction date, amount and recipient.

     4. Defendant shall have no contact with the first named defendant in Eastern District of
        New York matter No. 1:21-cr-00371 (BMC)(TAM), or with any officials of the United
        Arab Emirates or the Kingdom of Saudi Arabia or their known associates. Defendant
        shall have no contact with the third named defendant in Eastern District of New York
        matter No. 1:21-cr-00371 (BMC)(TAM), other than in the company of their respective
        counsel.

     5. Defendant has surrendered his passports to Pretrial Services on July 23, 2021. He shall
        not apply for any passport or travel document during the pendency of this case.

     6. Defendant shall travel only by road or common air carrier.

     7. The defendant shall be subject to GPS monitoring, at his own expense.

     8. The defendant shall observe a curfew with hours to be fixed by Pretrial Services.

     9. The defendant shall not transfer any funds overseas or engage in any financial transaction
        with any overseas counterparty.

     10. Defendant shall provide any air charter companies used in the last 3 years with a copy of
         this bond and its travel restrictions.
